    Case 6:20-bk-10759-WJ            Doc 78 Filed 03/15/22 Entered 03/15/22 11:30:49                      Desc
                                      Main Document Page 1 of 2


In re: TOMASO GIANNELLI                                               Chapter: 13
       MELANIE GIANNELLI
                                                     Debtors          Case Number: 6:20-bk-10759-WJ

                                 PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is
3787 University Avenue, Riverside, CA 92501.

The foregoing document described CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUN T
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005 -2(d);
and (b) in the manner indicated below:

I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) - Pursuant to controlling
General Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing document will be served by the court via
NEF and hyperlink to the document. On 03/15/2022, I checked the CM/ECF docket for this bankruptcy case or
adversary proceeding and determined that the following person (s) are on the Electronic Mail Notice List to receive
NEF transmission at the email address(es) indicated below:
US Trustee: ustpregion16.rs.ecf@usdoj.gov
julie@oaktreelaw.com


                                                                 Service Information continued on attached page

II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL (indicate method for each person or entity served):
On 03/15/2022 I served the following person(s) and/or entity(ies) at the last known address(es) in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States
Mail, first class, postage prepaid, and/or with an overnight mail service addressed as follows. Listing the judge
here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
document is filed.

TOMASO GIANNELLI                        MELANIE GIANNELLI
50 BOWRIDGE DR.                         50 BROWRIDGE DR.
RICHMOND HILL, CA 31324                 RICHMOND HILL, CA 31324

                                                              x Service Information continued on attached page

III. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL (Indicate method for each
person or entity served): Pursuant to F.R.Civ.P.5 and/or controlling LBR, on ____________ I served the following
person(s) and/or entity(ies) by personal delivery, or (for those who consented in writing to such a service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
personal delivery on the judge will be completed no later than 24 hours after the document is filed.



                                                                 Service Information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and
correct.

        03/15/2022                              Tony Ho
           Date                               Type Name
   Case 6:20-bk-10759-WJ     Doc 78 Filed 03/15/22 Entered 03/15/22 11:30:49            Desc
                              Main Document Page 2 of 2


In re: TOMASO GIANNELLI                                   Chapter: 13
       MELANIE GIANNELLI
                                         Debtors          Case Number: 6:20-bk-10759-WJ

                     PROOF OF SERVICE OF DOCUMENT CONTINUED

AMERICAN HONDA FINANCE        BANK OF AMERICA NA                 CITIBANK NA
CORPORATION                   PO BOX 15102                       6716 GRADE LN
PO BOX 168088                 WILMINGTON, DE 19886-5102          BLDG 9, STE 910-PY DEPT
IRVING, TX 75016-8088                                            LOUISVILLE, KY 40213-3439

GREENSKY, LLC                 JEFFERSON CAPITAL SYSTEMS,         JPMORGAN CHASE BANK NA
PO BOX 2153, DEPT #3025       LLC                                PO BOX 15368
BIRMINGHAM, AL 35287-3025     PO BOX 772813                      WILLMINGTON, DE 19850
                              CHICAGO, IL 60677-2813

LES SCHWAB TIRE CENTERS OF    LVNV FUNDING LLC                   OAKTREE LAW *
CENTRAL CA, INC               C/O RESURGENT CAPITAL              10900 183RD STREET
PO BOX 5350                   SERVICES                           STE 270
BEND, OR 97708                PO BOX 10587                       CERRITOS, CA 90703
                              GREENVILLE, SC 29603-0587

PORTFOLIO RECOVERY            QUICKEN LOANS INC                  SYNCHRONY BANK
ASSOCIATES LLC                635 WOODWARD AVE                   C/O PRA RECEIVABLES
PO BOX 12914                  DETROIT, MI 48226                  MANAGMENT LLC
NORFOLK, VA 23541                                                PO BOX 41031
                                                                 NORFOLK, VA 23541

TD AUTO FINANCE LLC           US BANK                            USAA FEDERAL SAVINGS BANK
PO BOX 16041                  ATTN: BANKRUPTCY                   ATTN: BANKRUPTCY
LEWISTON, ME 04243-9523       800 NICOLLET MALL                  10750 MCDERMOTT FREEWAY
                              MINNEAPOLIS, MN 55402              SAN ANTONIO,, TX 78288

USAA FEDERAL SAVINGS BANK     WELLS FARGO BANK NA
C/O WEINSTEIN & RILEY, PS     ATTN: BANKRUPTCY
PO BOX 3978                   1 HOME CAMPUS MAC X2303-01A
SEATTLE, WA 98124-3978        DES MOINES, IA 50328
